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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

  DALANEA TAYLOR; TAMMY
  HEILMAN; DARLENE DEEGAN;
  and ROBERT A. JONES III,

          Plaintiffs,                                     Case No. 8:21-cv-00555-SDM-CPT

  v.

  CHRIS NOCCO, in his official
  capacity as Pasco County Sheriff,

          Defendant.

    PLAINTIFFS’ CORRECTED* MOTION FOR SUMMARY JUDGMENT
     ON LIABILITY AND INCORPORATED MEMORANDUM OF LAW
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  *Plaintiffs sought leave to file this corrected filing in order to correct several citations to exhibits
  in Plaintiffs’ original filing. Those citations are identified in the parties’ joint motion for leave to
  file corrected motions for summary judgment.
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                                       INTRODUCTION

         Discovery has produced a significant factual record that testifies to a sustained

  campaign of harassment against these Plaintiffs—as well as other individuals—who

  were targeted by the Pasco Sheriff’s Office (“PSO”) based on a dystopian

  “intelligence-led policing” philosophy.1 Over six years, PSO conducted over

  thirteen thousand “prolific offender checks,” which are warrantless, suspicionless

  visits to the homes of individuals flagged (typically by a computer algorithm) as

  supposedly likely to commit future crimes. PSO’s own records document hundreds

  of visits to the homes of these Plaintiffs, and hours of body-worn camera footage

  shows deputies interrogating Plaintiffs, snooping around their properties, and

  subjecting Plaintiffs to citations and arrests.

         The factual record also leaves no dispute as to the reason for this years-long

  pattern of harassment. PSO sets out its operative policies in the Intelligence-Led

  Policing Manual (“ILP Manual”), which expressly directs PSO employees to draw

  up lists of likely future criminals, who are to be subjected to “relentless pursuit,

  arrest, and prosecution.” The record contains testimony from PSO employees who

  apply these policies, personnel documents evaluating PSO employees based on their

  fidelity to these policies, and presentations from weekly meetings used to coordinate


     1
       Defendant Sheriff Chris Nocco is sued in his official capacity as head of the PSO and is
  hereinafter referred to as the “PSO.” See Ramirez v. Hillsborough Cnty. Sheriff’s Office, No. 8:10-
  cv-1819-T-23TBM, 2011 WL 976380, at *1–2 (M.D. Fla. Mar. 18, 2011); see also Bargil Decl.
  Ex. 57 at 8 (admitting “that the Sheriff is the final policymaker for the Sheriff’s Office.”).

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  the implementation of these policies. Internal PSO documents also confirm that these

  Plaintiffs or their children were flagged as prolific offenders and subjected to these

  polices. None of this is in dispute.

        While these undisputed facts involve distinctly modern phenomena—

  including data aggregation, algorithms, and intelligence analysis—they ultimately

  raise simple and traditional constitutional questions about the power of the police:

  Can the police persistently come to your home and—without a warrant or even

  reasonable suspicion—investigate the area surrounding your house and interrogate

  you and your family? Can they harass parents in retaliation for the conduct (or future

  conduct) of their children? Can they put individuals on a list—analogous to being

  on probation for future crimes—without notice or a hearing? Can they subject listed

  individuals, and their associates, to relentless harassment?

        The answer to each of these questions is “no.” Because the undisputed facts

  demonstrate that PSO’s policy of relentless harassment violated the First, Fourth,

  and Fourteenth Amendments to the U.S. Constitution, Plaintiffs respectfully ask the

  Court to enter summary judgment on the issue of liability.

                         UNDISPUTED MATERIAL FACTS

        A. PSO’s Intelligence-Led Policing Philosophy.

        An internal PSO policy document explains that “Intelligence Led Policing” or

  “ILP” involves a “paradigm shift” away from traditional “reactionary” policing



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  under which “we will now be hunting criminals.” Ex. 31 at 1.2 “Every member and

  area of our agency is a part of this.” Id.

         PSO’s Intelligence-Led Policing Manual (“ILP Manual”) serves as “a

  practitioner’s guide detailing the processes adopted by the [PSO] in order to

  operationalize ILP’s core principles.” Ex. 36; see also Ex. 20 at 71:14–18.3

  Witnesses consistently testified that PSO employees are required to read and apply

  the ILP Manual. See, e.g., Ex. 22 at 27:8–13 (agreeing that “everything that’s in the

  ILP manual is something you were expected to understand and apply”); see also Ex.

  20 at 15:14–17, 25:15–24; Ex. 19 at 12:6–14, 84:3–4, 86:16–18. Performance

  reviews for PSO employees also direct employees to read the Manual and assess the

  employee’s application of the ILP philosophy.4

         B.    PSO’s Focus On “Problem People.”

         PSO’s ILP philosophy “calls for a strategic focus on problem people.” Ex. 1

  at 16; see also Ex. 37 at 15 (identifying “Problem People” as a “Focus of ILP”). PSO

  focuses on these individuals based on its belief that they will “ultimately reoffend




     2
        Citations to “Ex.” refer to the exhibits to the Declaration of Ari Bargil, which is filed
  contemporaneously with this motion.
      3
        The record contains four versions of the Manual, adopted in 2013 (Ex. 35), 2016 (Ex. 34),
  2018 (Ex. 1), and 2021 (Ex. 32). However, PSO’s 30(b)(6) representative testified that “I don’t
  think you’re going to find much of a difference between” at least the 2016 and 2018 versions, see
  Ex. 17 at 13:21–14:6, and this brief generally cites the 2018 version.
      4
        See, e.g., Ex. 29 at 3,7, 9, 16–17, 29, 32–33, 35, 50, 59, 68, 75; see also Ex. 44 at 2 (email
  stating that “any member desiring promotion is rated during an interview with the sheriff on their
  knowledge and demonstrated support of ILP”).

                                                   3
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  within a certain amount of time.” Ex. 18 at 48:20–49:4; see also Ex. 27 at 68:12–24

  (the purpose of identifying focused offenders is to “prevent crime from happening,”

  or to “skate[] to where the puck is going to be”).5 Two categories of “Problem

  People” are particularly relevant here.

         1. Prolific Offenders. Once per quarter, PSO’s intelligence analysts generate

  a list of so-called “prolific offenders.” Ex. 18 at 37:22–38:3. This list is generated

  through a computer algorithm, which assigns points for various “criteria,” including

  arrests and suspected past crimes. See Ex. 1 at 75; Ex. 38 at 1–2; Ex. 26 at 16:3–21.6

  The algorithm also adds “enhancements” based on a person’s “involvement” in an

  offense, which includes being listed in an offense report as a witness, a victim, or a

  reporting party. Ex. 1 at 75. The algorithm generates a ranked list of names, and

  analysts then select individuals from the list to designate as prolific offenders.

         There is no age minimum to be listed as a prolific offender. To the contrary,

  PSO seeks to identify and engage “at-risk youth who are destined to a life of crime.”

  Ex. 1 at 13, 18. Dalanea Taylor was incarcerated for her involvement in nonviolent

  property crimes at 15 years old, see Taylor Decl. ¶¶ 3–5, and she was placed on the

  prolific offender list when she was released at age 17, see Ex. 39; see also Ex. 26 at



     5
        See also Ex. 18 at 45:9–11 (“Is there a higher likelihood that we believe [a person labeled a
  “prolific offender”] would commit a crime in the future? Yes.”); Ex. 1 at 75 (“A prolific offender
  is someone who is not likely to reform . . . .”).
      6
        The 2016 Manual also allowed for individuals to be designated as prolific offenders even if
  they were not flagged by the algorithm. See Ex. 34 at 9, 50, 52; see also Ex. 20 at 67:10–18.

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  103:18–21. Tammy Heilman’s son, Donnie, was first identified as a prolific offender

  as early as September 2016, when he was 16 years old.7 Robert Jones’s son, Bobby,

  was first identified as a prolific offender as early as September 2015, when he was

  16 years old.8 Only Darlene Deegan’s son, Tyler Paneson, was no longer a juvenile

  when he was designated a prolific offender sometime prior to January 2017.9

         2. Top 5 Offenders. Until late 2019, PSO also maintained a list of the “Top 5

  Offenders” within each of the three districts in Pasco County. See Ex. 1 at 26; Ex.

  17 at 64:21–65:7. Identification of these offenders was based on a subjective

  assessment by PSO analysts and deputies. See Ex. 20 at 19:9–15. As with the prolific

  offender list, an individual did not need to be the subject of an ongoing investigation

  to be listed as a Top 5 Offender. See id. at 19:16–22:20.

         Juveniles could also be designated as Top 5 Offenders. Dalanea was listed as

  a Top 5 Offender in April 2017, at age 17. See Ex. 16 at 55. Bobby was listed as a

  Top 5 Offender in February 2016, at age 16. See id. at 6. Donnie was listed as a Top



     7
         See Ex. 46 at 2 (email from September 18, 2016, referring to Tammy as “Prolific Offender
  Donnie McDougall’s mother”). It can be difficult to determine the exact date that individuals were
  first listed as prolific offenders, due to PSO’s imperfect recordkeeping; while PSO maintains a
  database of when people were flagged as prolific offenders, it does not appear to go back past
  January 2017. See Ex. 39; see also Ex. 17 at 69:4–11 (changes in PSO information technology
  occurred in 2016). In any event, that database leaves no doubt that Donnie was listed as a prolific
  offender as of January 2017, when he was still a juvenile. See Ex. 39; see also Ex. 26 at 104:6–7.
       8
         See Ex. 11 at 19 (documenting “prolific offender check” on Bobby Jones in September 2015
  and stating that “HE WAS TOLD HE WAS BEING MONITORED DUE TO HIS LONG
  STANDING COMMITMENT TO CRIMINAL ACTIVITY”).
       9
         See Ex. 39. As noted in note 7, supra, PSO’s database of listed offenders appears to go back
  only to January 2017, and it is possible that Tyler was listed prior to that date.

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  5 Offender in 2018, at age 18. See id. at 63. Only Darlene’s son, Tyler, was older

  than 18 when he was listed as a Top 5 Offender in June 2018. See id. at 68.

        PSO has no process for notifying individuals (or their parents, if the

  individuals are juveniles) when they have been designated as a Prolific Offender or

  a Top 5 offender. See Ex. 18 at 68:14–17, 70:11–15. PSO also has no procedure to

  allow individuals (or their parents) to contest their designation as a Prolific Offender

  or a Top 5 Offender. See id. 68:18–69:21, 70:16–19.

        C. PSO’s Policy of Prolific Offender Checks.

        The ILP Manual states that “[o]ne way we look to have an impact on the

  actions of prolific offenders is through periodic prolific offender checks.” Ex. 1 at

  17. These checks are designed to “communicate” that prolific offenders will be

  subjected to “relentless pursuit, arrest, and prosecution.” Id. Checks “also offer the

  opportunity to cultivate information about the criminal environment.” Id. at 18.

        1. Prolific offender checks are home visits. Prolific offender checks are almost

  always conducted at the home of the listed individual, or the home where the listed

  individual is staying. See, e.g., Ex. 25 at 38:3–5; Ex. 23 at 17:16–18.

        During these checks, deputies speak not just with the listed individual but also

  with family members. PSO’s database of “offender notes” for Tammy’s son, Donnie,

  includes copious notes documenting interactions with Tammy at her home. See, e.g.,

  Ex. 3 at 10–11 (“I made contact with his mother, Tammy Heilman . . . Tammy then



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  said she was busy and did not have time to speak with me . . . I informed Tammy I

  would be issuing Tammy a County Ordinance Citation”); see also id. at 8 (“Tammy

  . . . did not wish to wake him up”); 9 (“Donnie’s mother, Tammy”); 12 (“[h]is mother

  . . . was not pleased to see the sight of law enforcement”); 13 (“Donnie’s mother”);

  15 (“Donnie’s mom”); 16 (“Donnie’s mother”); 17 (“Donnie’s Mother, Tammy,

  who appeared to be inconvenienced by my presence”). Robert Jones and Darlene

  Deegan likewise had numerous interactions with PSO during checks ostensibly

  focused on their children. See Deegan Decl. ¶¶ 5, 6, 10; Jones Decl. ¶¶ 5, 9.

        2. PSO conducts prolific offender checks frequently—and at all hours of the

  day. PSO’s records show that the agency performed 13,093 prolific offender checks

  over the course of six years. See Carrasco Decl. ¶ 58. While PSO deputies are

  required to “[c]onduct a face-to-face prolific offender check at least once quarterly

  with each active prolific offender,” Ex. 1 at 19 (emphasis added), no PSO policy

  caps their frequency, see Ex. 20 at 55:23–56:1. For instance:

      PSO deputies performed at least 19 prolific offender checks on Dalanea
       between April 2017 and September 2019. See Carrasco Decl. ¶ 74; see also
       Ex. 8. The visits varied in frequency from about once per week to every few
       weeks. See Taylor Decl. ¶ 10.

      PSO deputies performed at least 22 prolific offender checks at Tammy’s home
       between 2017 and 2020. See Carrasco Decl. ¶ 74; see also Ex. 9. The visits
       were sometimes as frequent as multiple times per week or even multiple times
       per day. See Heilman Decl. ¶ 6.

      PSO deputies conducted at least 8 prolific offender checks at Darlene’s home
       over the course of four months in 2018, see Carrasco Decl. ¶ 74; see also Ex.


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        10. The visits were sometimes as often as every day for consecutive days. See
        Deegan Decl. ¶ 6.

      PSO deputies conducted 34 prolific offender checks on Bobby at Robert’s
       home between September 2015 and April 2016. See Carrasco Decl. ¶ 74.
       Sometimes they even visited several times in a row on consecutive days or
       multiple times in the same day. See, e.g., Ex. 11 at 52–70.

  PSO’s own 30(b)(6) witness observed in an email that “because we are going out to

  these offenders[’] houses several times a week, they are starting to resent our agency

  and say we are harassing them.” Ex. 45 at 2; see also Ex. 20 at 60:2–14.

        In addition, deputies regularly conducted checks late at night or in the early in

  the morning. Plaintiffs’ expert Michael Carrasco found that 17.5 percent of prolific

  offender checks between September 2015 and November 2021 occurred between

  10PM and 6AM. Carrasco Decl. ¶ 61. Plaintiffs’ experience was consistent with that

  finding. See Ex. 8 at 17, 29, 33 (records of checks on Dalanea at 10:15 PM, 12:05

  AM, and 7:32 AM); Ex. 9 at 9, 21, 31, 43, 55 (records of checks occurring at

  Tammy’s residence at 10:00 PM, 10:06 PM, 10:21 PM, 11:55 PM, and 4:54 AM);

  Ex. 10 at 21, 31, 35 (records of checks occurring at Darlene’s residence at midnight,

  2:59 AM, and 3:33 AM); Ex. 11 at 13, 19, 38, 87 (records of checks occurring at

  Robert’s residence at 11:54 PM, 12:35 AM, 1:42 AM, and 1:45 AM).

        3. PSO deputies use prolific offender checks to gather information. During

  prolific offender checks, PSO deputies are instructed to “cultivate information about

  the criminal environment” and “[l]earn as much as possible about prolific



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  offenders.” Ex. 1 at 18–19; Ex. 20 at 15:24–16:17. This includes gathering

  information about who listed individuals are associating with. See Ex. 1 at 19; see

  also id. at 52; Ex. 22 at 35:25–36:3 (agreeing that PSO seeks to “develop an

  understanding of the social networks and familial networks of the people that it

  targets”). Information is recorded via reports, “tips,” and a database of “offender

  notes.” See Ex. 17 at 50:6–51:8, 90:1–12, 108:8–109:12; see also Ex. 3 (offender

  notes); Exs. 42, 43 (“tips”).

          Deputies, again, would seek this information from both the listed offender and

  family members. See, e.g., Ex. 3 at 15 (“offender notes” stating that “Tammy was

  unwilling to give any additional information regarding Donnie’s whereabouts or

  activities”).10 Even on occasions when the listed individual was home, deputies

  would sometimes speak to their parents to seek additional information. See, e.g., id.

  at 10 (recording conversation with Donnie and adding that “Donnie’s mother . . .

  stated Donnie has been staying out of trouble and going to school”).

          During prolific offender checks, deputies often ask vague, open-ended

  questions seeking information about unspecified criminal activity. See, e.g., Ex. 3 at

  8–16, Ex. 4 at 1:55, 5:11, 13:33, 15:45, 21:12, 30:10. They often ask questions about

  the listed individual’s activities, including whether they are in school or have a job.


     10
        See also Ex. 3 at 7 (“I spoke to Dana at the residence, who stated Dalanea has been staying
  out of trouble, and taking care of her twins.”); Ex. 4 at 30:34, 34:21; Ex. 5 at 8:09, 14:58, 23:17,
  24:59, 25:46, 27:33, 29:12, 32:15, 34:31, 39:59; Deegan Decl. ¶ 10; Jones Decl. ¶ 14.

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  See Taylor Decl. ¶¶ 12, 13; Ex. 4 at 2:18, 5:31, 8:22, 13:46, 21:17, 23:10, 29:43;

  Heilman Decl. ¶¶ 9, 10; Ex. 5 at 7:56, 10:59, 11:37, 13:48, 26:17, 28:44, 42:11;

  Deegan Decl. ¶ 10; Jones Decl. ¶ 13. They also seek information about the listed

  individual’s associations, including who they are hanging out with or who they are

  dating. See, e.g., Taylor Decl. ¶ 12; Ex. 4 at 2:33, 3:08, 5:17, 10:41, 23:39; Ex. 5 at

  8:00, 33:16, 38:59; Jones Decl. ¶ 13. When Dalanea became pregnant with twins,

  PSO deputies repeatedly asked her for information about the father, as well as details

  about her pregnancy. See, e.g., Ex. 3 at 3 (“offender notes” recording that “the

  father’s name is Kevin Jones and he is somewhat involved in the pregnancy”).11

          4. PSO deputies examine the property seeking evidence of violations and

  sometimes also seek entrance to the home. Body-worn camera footage shows that,

  during prolific offender checks, PSO deputies routinely look into the windows of

  residences, look over and through fences, and otherwise look into private spaces of

  the home and its curtilage. For instance:

      Body-worn camera footage shows deputies shining flashlights or looking into
       the windows of multiple Plaintiffs. See Ex. 5 at 33:54 (Tammy Heilman); Ex.
       6 at 43:10, 44:24, 46:02 (Darlene Deegan); Ex. 7 at 19:02, 20:49, 22:29, 25:46,
       27:30, 32:57 (Robert Jones). Deputies would sometimes knock on the
       windows and attempt to speak to people inside. See, e.g., Ex. 7 at 0:39, 2:10,
       5:42, 30:10.12 On one occasion, deputies arrested Robert Jones because they
     11
         See also Ex. 4 at 6:01, 13:37, 14:22 (asking if the father would be “in the picture” and
  scoffing when Dalanea said the father’s last name was not important), 21:24, 22:42, 25:30, 29:47,
  (asking about the sex of her twin babies).
      12
         See also Ex. 7 at 2:33 (deputies spending almost half an hour walking around to the back of
  the house and looking in back windows, after Robert’s daughter told the deputy that neither Bobby
  nor Robert were at the house); id. at 30:10 (banging on back windows of the house).

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        claimed to see a minor smoking a cigarette inside the home. See Ex. 14 at 20;
        Ex. 7 at 5:42, 32:57, 35:05, 35:15.

      During visits to Tammy’s house, deputies would walk alongside her house
       and look over the fence. See Ex. 5 at 15:16, 23:38, 34:14; see also id. at 18:02
       (deputy stating “I sneak around to the back and look through the fence”).
       Deputies arrested Tammy’s son because they claimed to see other individuals
       (not her son) with marijuana in the back yard. See infra p. 18.

      Deputies would walk around inside the curtilage looking for evidence of
       property code violations. See Ex. 6 at 12:15, 12:53 (Darlene Deegan); Ex. 7
       at 37:51, 38:13 (Robert Jones). During a visit to Darlene’s home, deputies
       crossed over her fence to access the property and spent several minutes
       walking around her backyard taking pictures. See Ex. 6 at 5:00, 11:14; see
       also id. at 17:16 (deputy saying a court might “throw . . . out” the pictures),
       Ex. 13 at 4, Ex. 3 at 25 (deputies “accessed the property by stepping over some
       fencing due to the front gate being locked”).

        Deputies would also sometimes seek entrance into the home during these

  visits. During one visit to Robert’s home, deputies asked for access to the home.

  Jones Decl. ¶ 15. After Robert refused to let deputies into the home, he was arrested.

  Id.; see also Ex. 7 at 35:05, 35:15. On another occasion, deputies demanded that

  Tammy grant them access to her home to look for her son and—when the door hit

  one of the deputies as she opened it—arrested her as well. Ex. 5 at 30:09. On yet

  another occasion, deputies asked that Darlene give them access to the inside of a

  trailer parked on her property and, after she declined, cited her for a variety of

  property code violations. Ex. 6 at 22:13, 27:46, 27:58.

        5. PSO conducts prolific offender checks without a warrant, probable cause,

  reasonable suspicion, or consent. PSO admits that “[n]either probable cause,


                                           11
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  reasonable suspicion, nor consent is required ‘to visit residences to conduct prolific

  offender checks.’” Ex. 57 at 2; see also Ex. 18 at 167:24–168:1, 168:21–24

  (testimony of 30(b)(6) representative).13

          Consistent with that policy, PSO conducted prolific offender checks on

  Plaintiffs without a warrant, probable cause, reasonable suspicion, or consent.

  Deputies did not produce a warrant authorizing any of the visits that were marked in

  their records as prolific offender checks.14 Similarly, while deputies did mention

  specific investigations during a handful of visits, see, e.g., Ex. 9 at 1, 9, 31, the vast

  majority of notes documenting the checks include no reference to any specific

  investigation, see Exs. 8–11, 3. Rather, deputies explicitly stated they were not there

  to investigate any allegation of wrongdoing. See, e.g., Ex. 4 at 3:52 (“She’s not in

  any trouble or anything.”), 0:18; Ex. 5 at 14:41 (“He’s not in trouble.”), 25:10, 40:51.

  As one deputy told Dalanea, “they have like a list of people that used to get in trouble

  but don’t anymore, and we just make sure everyone is doing good.” Ex. 4 at 1:50.




     13
         Prolific offender checks are also distinct from probation checks. See Ex. 19 at 24:6–25:4;
  see also Ex. 57 at 2 (admitting “that a probation or supervised release status is not required in order
  for a prolific offender check . . . .”); Ex. 5 at 29:40 (deputy noting that “it doesn’t matter” that
  Donnie was not on probation and “we still check up on him” because “he’s been identified as a
  prolific offender”).
      14
         See Taylor Decl. ¶ 22; Deegan Decl. ¶ 24; Heilman Decl. ¶ 23; Jones Decl. ¶ 23. A few
  reports connected to Robert Jones reference serving a warrant, but the need to serve a warrant
  would not authorize the other intrusive interactions that Robert experienced. See, e.g., Ex. 11 at
  30, 45. PSO did also produce a warrant authorizing a search of Jones’s residence, but the visit to
  execute that warrant was not marked as a prolific offender check. See id. at 115.

                                                    12
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          The visits also were not consensual. Body-camera footage shows that

  Plaintiffs specifically told deputies that the visits to their homes constituted

  harassment. See Ex. 5 at 3:21, 5:51 (“This is harassment.”); see also id. at 0:09,

  21:54, 30:54; Ex. 4 at 18:10; Ex. 6 at 34:48; Ex. 7 at 33:16, 34:43. Footage also

  shows deputies apologizing for the visits, which they acknowledged were

  unwelcome. See, e.g., Ex. 4 at 0:11 (“Sorry to freak you out.”), 21:55, 26:15 (“I’m

  sorry, but we’re told to do it.”); Ex. 5 at 28:30 (“So you’re probably tired of seeing

  us... I’m sorry to bother you.”), 38:45 (“We don’t enjoy bugging everybody ....”).15

  Yet the visits continued.

          D. PSO’s Policy of Enhanced Enforcement.

          The ILP Manual calls for “relentless pursuit, arrest, and prosecution” of

  prolific offenders. Ex. 1 at 17. To effectuate this policy, the ILP Manual includes as

  a “Performance Expectation” for deputies a “zero-tolerance arrest policy for crimes

  committed by prolific offenders” as well as “for members of the district Top 5 and

  their associates.” Id. at 19, 26 (emphasis added). One PSO deputy explained the

  policy to Tammy as he transported her to jail:

          Here’s the policy of the agency. I’ll explain it to you so it makes sense. If
          people have themselves or their—people that live in the house are committing
          crimes and victimizing the community, then the direction we receive from
          our Sheriff’s Office—from the top down—is to go out there and for every



     15
        See also Ex. 7 at 34:57 (deputies saying they told Robert that they were “going to keep
  harassing them, every single day”).

                                               13
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          single violation that person commits, to enforce it upon them. So we have
          people like code enforcement specialists, traffic enforcement specialists . . . .

  Ex. 5 at 0:34; see also Ex. 50 at 1 (“the goal is to get them to move away or go to

  prison”). This policy of enhanced enforcement against listed individuals and their

  associates manifests itself in several ways.

          1. PSO employs a specialized unit to identify and target prolific offenders, and

  PSO holds weekly meetings to coordinate its targeting of listed individuals and their

  associates. The agency employs a specialized unit—called the “STAR” team—with

  a mission to “target prolific offenders” and to “develop missions to target the ‘Top

  5.’” Ex. 2 at 2. The agency directs STAR members to “learn as much as possible

  about prolific offenders,” as well as “TOP 5,” and to “identify potential prolific

  offenders that our members need to target.” Id. at 3; see also Ex. 30.16

          The agency also coordinates its enforcement efforts against listed individuals

  and their associates through weekly Actionable Intelligence Meetings, or “AIM”

  meetings. See Ex. 1 at 33–34; Ex. 2 at 4–5. These meetings are open to all members

  of the agency, and they were regularly attended by analysts, STAR team members,

  deputies, school resource officers, and code enforcement officials, among others.


     16
        Consistent with this direction to “identify” prolific offenders, both Robert and Tammy
  received visits from STAR after their sons were flagged by deputies as potential offenders.
  Robert’s home received repeated visits from STAR approximately one month after a deputy
  submitted a “tip” stating that Bobby had been identified (based on a “Facebook search”) as an
  associate of a listed individual. See Ex. 11 at 5–10; Ex. 42. Similarly, a STAR deputy visited
  Tammy’s home four days after a school resource officer identified Donnie in an internal PSO email
  as somebody who “engages in many risky activities.” See Ex. 9 at 21; Ex. 47 at 2.

                                                 14
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  Ex. 18 at 62:10, 63:5–24.17 The presentation slides for the weekly AIM meetings

  include photo line-ups of listed individuals and their associates, which included

  photographs of Tammy (identified as Donnie’s mother) and Robert (identified as

  Bobby’s father). See Ex. 16 at 25, 30, 64; see also id. at 56–57 (listing Dalanea’s

  mother, sister, and aunt as associates). Slides from the meetings also discuss

  enforcement efforts against all four Plaintiffs.18

          2. Deputies arrest listed individuals and their family members. The record

  contains numerous instances where PSO deputies—typically STAR team

  members—arrested listed individuals and their family members.

          PSO deputies arrested Tammy Heilman on two occasions. First, on September

  16, 2016, days after internal notes from the weekly AIM meeting identified Donnie

  as an associate of a Top 5 Offender, see Ex. 16 at 62, a member of the STAR team

  visited Tammy’s home and, after Tammy declined to speak to him, arrested her for

  giving false information to a law enforcement officer, for battery on a law

  enforcement officer, and for resisting arrest without violence. Heilman Decl. ¶¶ 12–

  13. While transporting Tammy to jail, the STAR deputy told her, “[O]ur goal is to



     17
         See also Ex. 51 (email instructing Child Protective Investigators and School Resource
  Officers to monitor and provide information on listed individuals).
      18
         See, e.g., Ex. 16 at 73, 75–81, 84 (identifying Darlene’s son as a Top 5 Offender and noting
  her code citations); 3 (noting that Tammy was fined $2,518 for five code citations); 10 (noting that
  Robert was “not answering door” and stating that deputy “[w]ill be taking Cpl. Celeste (code
  enforcement) with him to visit dad”); 55 (identifying Dalanea as a Top 5 Offender and stating that
  she “received verbal warnings regarding her county ordinance violations”).

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  get you to do something to keep your kid from committing crime.” Ex. 5 at 1:10. In

  an internal email the next morning, the deputy reported that it was a “[v]ery busy

  night” and that one of the “top three events” was that they had arrested “Prolific

  Offender Donnie McDougall’s mother.” Ex. 46 at 2.

          Second, on September 18, 2018, one day after Donnie was listed as a Top 5

  Offender, see Ex. 16 at 63, members of the STAR team once again visited Tammy’s

  home. See also Ex. 49 (email from 10 days prior stating that “Donnie should be

  getting some TLC from STAR”). Using the fact that Tammy was on probation from

  her first arrest, officers demanded to be let into the home, and, when Tammy opened

  the screen door in a manner that caused it to touch a deputy, arrested Tammy for

  felony battery on a law enforcement officer. Heilman Decl. ¶ 19; see also Ex. 5 at

  30:09. The next day, an internal “Daily Activity Report” recounted the arrest and

  identified Tammy as a “TOP 5 ASSOCIATE/MOTHER OF DONNIE

  MCDOUGALL.” Ex. 53; see also Ex. 54 (internal STAR report recounting arrest

  under “Cases Worked”).19

          Meanwhile, PSO deputies arrested Robert Jones three times in the space of

  about three months:

      On the day after Christmas in 2015, STAR deputies visited Robert’s home for
       a prolific offender check and, after Robert refused to allow them to enter,

     19
        While deputies claimed to be looking for Donnie—who at the time was subject to an active
  warrant for an alleged domestic violence incident—none of the deputies went inside the house to
  look for him. See Ex. 22 at 146:10–147:14.

                                                16
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          arrested Robert on charges of contributing to delinquency of a minor. See Ex.
          11 at 54; Ex. 14 at 7–24; Jones Decl. ¶ 15. The deputies had looked through
          the windows and claimed to see a minor inside smoking. Ex. 14 at 20. One of
          the deputies told Robert, “Little Bobby Jones is bringing this on this house.”
          Ex. 7 at 33:26.

      About a week later, STAR deputies visited Robert’s home for another prolific
       offender check. See Ex. 11 at 73–76. The deputies arrested Robert for failing
       to appear for a code citation which Robert does not remember receiving. See
       Ex. 14 at 25–30; Jones Decl. ¶ 17.

      In March 2016, PSO deputies executed a search warrant at Robert’s house in
       connection with Bobby’s alleged criminal activity, claimed to find marijuana
       in Robert’s car and house, and arrested him again for possession of marijuana
       and child neglect. See Ex. 11 at 115; Ex. 14 at 49–64.

  As Robert was being arrested this third time, body-worn camera footage shows that

  a deputy told him, “We’re talking about parenting issues. You’ve done little or

  nothing to help out with this situation, while your kid runs around here victimizing

  people. That’s why, that’s why all this is today. And we’ll just continue on this s–t,

  because you’re messing around with an aggressive sheriff. Sheriff Nocco is not

  playing games, and that’s the bottom line.” Ex. 7 at 45:55 (profanity omitted).20

          In addition to arresting Tammy and Robert, PSO deputies also arrested their

  children under pretextual circumstances. In September 2015, deputies came to see


     20
          That visit also resulted in the arrest of Bobby’s then-girlfriend. As she was being driven to
  jail, a deputy showed her how Bobby was on the Top 5 list on his laptop, and he showed her how
  there was a picture of her next to Bobby’s name. Ex. 7 at 40:17. The deputy told her, “Because
  you’re associated with him, you’re gonna be on this page for a while.” Id. at 41:32.
       Darlene Deegan was likewise threatened with arrest if she did not sufficiently cooperate with
  PSO. On the same day that a PSO corporal issued her five code citations, infra p. 21, he told her,
  “I mean, you don’t want to go to jail over [Tyler’s] mess. So that’s why it’s best that—if you can
  call him and talk to him, and if you know where he is then that would help.” Ex. 6 at 20:40; see
  also id. at 19:36 (“you can be arrested”).

                                                   17
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  Bobby because he had been absent from school and—because of his alleged

  absence—arrested him based on trace amounts of marijuana that they claimed to

  have found during an earlier search of his room. See Ex. 7 at 0:09; see also Jones

  Decl. ¶¶ 6–7. In addition, four days after Christmas in 2017, members of the STAR

  team came to Tammy’s home to check on Donnie; after one of the deputies looked

  over the fence and claimed to see people in the backyard with marijuana, the deputies

  arrested Donnie for violating his probation (even though he was not in the backyard).

  See Ex. 9 at 61; Ex. 12 at 45–56. Nobody else was arrested, and no drugs were seized.

  See Ex. 22 at 134:24–136:1. On body camera, deputies discuss their plans to “stir

  something up with this” and characterize the allegations as “police talk for they’re

  all a bunch of f—ing a—holes.” Ex. 5 at 18:28, 19:30 (profanity omitted).

        3. Deputies subject family members of listed individuals to heightened code

  enforcement. PSO’s manual for the STAR team directs the team to “[u]tilize County

  Ordinance citations as a strategic tool to target prolific offenders.” Ex. 2 at 7. To that

  end, until 2021, PSO employed its own in-house “Code Enforcement Corporals” to

  issue citations for violations of Pasco County ordinances (separate from the standard

  code enforcement officials employed by the County). See Ex. 23 at 9:6–10:2. These

  PSO corporals were specifically instructed to “actively pursu[e] prolific offenders

  and their associates.” Ex. 29 at 39.




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          Particularly when listed individuals are minors, citations are directed to the

  individuals’ parents. See Ex. 23 at 41:13–17 (if “the problem person is a juvenile,”

  the citation would be issued to the “parents” or “whoever is responsible”). In one

  internal performance evaluation, Code Enforcement Corporal Mark Celeste listed as

  one of his “most significant work related achievements” that he issued so many

  citations to a prolific offender’s mother that she was evicted. Ex. 29 at 19; see also

  Ex. 23 at 38:22–25. He added that the mother was “unfortunately” still living in the

  same Pasco County district. See Ex. 29 at 19; see also Ex. 23 at 39:1–3.

          Further, PSO deputies target listed individuals and their family members for

  citations even when other neighboring homes have the same violations. E.g., Ex. 6

  at 35:05 (deputy noting that it “doesn’t matter” if neighbors have similar violations);

  Ex. 5 at 8:48 (deputy citing Tammy for “debris” based on trash that she put out for

  collection after a hurricane, when neighbors had done the same).21 As a result, PSO’s

  code enforcement disproportionately targets listed individuals and their families: Mr.

  Carrasco found that addresses where prolific offender checks occurred were more

  likely to receive code citations. See Carrasco Decl. ¶ 68. While addresses that were

  not targeted for prolific offender checks had a 0.5% chance of receiving a code

  citation from PSO deputies between 2016 and 2021, addresses that received more



     21
        A PSO deputy explained that, by contrast, the County’s code enforcement officials (who are
  separate from the PSO code enforcement deputies) “can’t discriminate.” Ex. 6 at 47:30.

                                                19
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  than one prolific offender check had a 14.7% chance of receiving code citations,

  while addresses that received ten or more prolific offender checks had a 36% chance

  of receiving a code citation. Id. ¶ 65.

          Consistent with that pattern, three of four Plaintiffs received citations from

  PSO deputies. See Ex. 12 at 4, 7–14, 39–44 (Tammy); Ex. 13 at 1–27 (Darlene); Ex.

  14 at 7–24, 31–48 (Robert).22 A member of the STAR team told Tammy her citations

  were likely related to Donnie’s prolific offender status. See Ex. 21 at 87:12–21.23

  Similarly, the corporal who wrote the citations for Darlene explained that she was

  targeted because her son was “a Top 5 offender,” and that for “every offender that

  we have in the county, especially a Top 5, we go to their house” and “ensure that ...

  the ordinances are being followed.” Ex. 6 at 32:07.24

          4. Deputies used code enforcement citations to punish perceived non-

  compliance with their program of prolific offender checks. If deputies perceived that

  family members of listed individuals were not cooperating, deputies would utilize


     22
          A code enforcement corporal also visited the address where Dalanea was staying to look for
  code enforcement violations. Ex. 8 at 7.
       23
          Another of Tammy’s citations was issued during a prolific offender check, see Ex. 12 at 42,
  and another was issued the same day that Donnie appeared in the weekly AIM notes as a juvenile
  allegedly involved in an auto theft, see Ex. 16 at 62; Ex. 9 at 13.
       24
          For Darlene, this treatment continued for years. When she called about a year later to report
  what she believed was a code enforcement violation by her neighbor, the deputies ended up giving
  citations to Darlene—and not her neighbor—in part because she had a history of prior violations
  (which were issued because of her son’s status as a listed individual). See Ex. 6 at 48:30, Ex. 13 at
  31. In 2021 (after Tyler had died), a deputy responding to her street was captured on body camera
  telling another that “really special people live here.” Ex. 6 at 52:02. Another deputy told Darlene
  that she needed to trim the landscaping around her mailbox, telling her, “You’ve been cited for
  that before, right? ‘Yes’ is the correct answer.” Id. at 52:38.

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  code citations as “a technique for . . . compliance.” See Ex. 22 at 73:17–24; see also

  id. at 74:13–15 (“So it’s kind of putting the pressure on the residents of where this

  prolific offender is.”). Similarly, deputies would “use code enforcement to sort of

  light a fire under the homeowner to do a better job in keeping that juvenile out of

  trouble.” Id. at 74:19–75:1.

        Deputies tried to strong-arm each of the Plaintiffs into cooperation—or to

  retaliate against Plaintiffs for a perceived lack of cooperation—using citations:

      During a prolific offender check on Donnie in October 2017, after Tammy
       told the deputy that Donnie was home and asleep and that she did not want to
       wake him, the deputy stated in his notes that Tammy “refused to get [Donnie]
       for me,” Ex. 3 at 10–11, and issued her a citation for “accumulation of junk
       for [a] cinder block” in her yard. Ex. 5 at 8:18, 9:55; see also Ex. 12 at 39–44.

      During a prolific offender check in May 2017, a group of deputies began
       looking for code violations at Tammy’s house because of her “attitude.” See
       Ex. 5 at 4:52, 5:16 (mentioning house numbers), 6:10 (asking about her dog’s
       vaccination status), 6:47 (checking the tint of the windows on her car).

      When Darlene refused to allow deputies to break down the door to a trailer on
       her property, to look for her son Tyler, she was hit with a number of code
       citations. See Ex. 16 at 73. Two days later, a group of deputies told Darlene
       that if she “cooperate[d] and work[ed] with” them, they could “work with
       [her]” on the code citations. Ex. 6 at 37:12; see also id. at 38:33, 39:59
       (discussion of writing citations to “uncooperative” people).

      When deputies came to the house where Dalanea was staying on New Year’s
       Day 2020 looking for her cousin, deputies threatened to write her code
       citations for missing house numbers and junk in the yard if she did not let
       them inside. See Taylor Decl. ¶ 20; Ex. 8 at 45–46.

      During a visit to Robert’s home by a group of deputies, which resulted in code
       enforcement citations, one deputy was captured on body-worn camera footage


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        stating, “I told him if they give us 100% information, if it all turns out to be
        true . . . that’s when we maybe, maybe won’t write the [code violations].” Ex.
        7 at 38:47; see also Ex. 23 at 65:8–16.

        5. Deputies contacted Child Protective Investigations (“CPI”) regarding

  family members of listed individuals. The record also shows that PSO deputies used

  referrals to CPI to further harass family members of listed individuals. After deputies

  looked in Robert’s windows and arrested him because they claimed to see a minor

  inside smoking, deputies contacted the Florida Abuse hotline. See Ex. 14 at 62.

  Similarly, after a deputy looked through Tammy’s fence during a prolific offender

  check and claimed to see people breaking apart marijuana, deputies referred the

  incident to CPI. See Ex. 12 at 56. One deputy acknowledged that CPI was unlikely

  to take action but stated, “I’m just doing it as a big f—k you.” Ex. 5 at 19:55

  (profanity omitted).

                                 LEGAL STANDARD

        Summary judgment is appropriate if there are no disputed issues of material

  fact and the moving party is entitled to judgment as a matter of law. Celotex Corp.

  v. Catrett, 477 U.S. 317, 322 (1986); Fed. R. Civ. P. 56(a).

                                     ARGUMENT

        PSO’s policy of targeted harassment towards listed individuals and their

  family members is unconstitutional—and therefore the Defendant is liable—for at

  least four separate reasons. See Monell v. Dep’t of Social Servs., 436 U.S. 658



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  (1978). Part I shows that PSO’s policy of suspicionless and warrantless “checks”

  violates the Fourth Amendment. Part II shows that PSO’s policy of harassing parents

  and associates of targeted persons violates the First Amendment. Part III shows that

  PSO’s policy of listing targeted persons without notice or a hearing violates

  procedural due process. Finally, Part IV shows that PSO’s policy of harassing

  targeted persons and their associates violates substantive due process.

     I.      PSO’s Policy Of Conducting Suspicionless And Warrantless “Prolific
             Offender Checks” Violates The Fourth Amendment.

          PSO’s policy of frequent, warrantless, suspicionless visits to Plaintiffs’ homes

  violates the Fourth Amendment.25 PSO does not require deputies to obtain warrants

  for those visits. Ex. 18 at 167:24–168:1. Nor does it require deputies to have probable

  cause or reasonable suspicion. Id. at 168:2–24; see also id. at 205:1–5.26 In PSO’s

  view, such constitutional obligations are not implicated where deputies “just go

  knock on the door” because, PSO believes, it “could do that to any citizen.” Id. at

  168:6–8.


     25
           Monell liability attaches “for injuries caused by a policy that directed officers to make
  warrantless entries onto constitutionally protected property with no regard for—or even
  recognition of—constitutional limits.” Morgan v. Fairfield County, 903 F.3d 553, 558 (6th Cir.
  2018).
       26
          In place of individualized suspicion, the Manual requires that visits take place “at least once
  quarterly.” Ex. 1 at 19. Sometimes, deputies arrived with no evident purpose except to ask invasive
  questions. See, e.g., Ex. 4 at 3:47; Ex. 7 at 33:16, 34:43. In others, PSO deputies arrived with no
  initial objective and then conduct surveillance to try to develop probable cause for an arrest. Ex. 5
  at 15:16. And in still other instances, deputies approach properties with one stated intention—like
  searching for an occupant or an associate of an occupant—before shifting their focus to something
  else, like code enforcement. See, e.g., Jones Decl. ¶¶ 7, 15, 16, 18; Heilman Decl. ¶¶ 11–15, 16,
  30; Ex. 5 at 15:16, 30:09; Ex. 52.

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        However, the pattern of harassment at issue here cannot be justified as a

  “knock and talk.” To the contrary, the checks were non-voluntary and conducted in

  a manner that gave rise to an unreasonable seizure. They also sought evidence of

  criminal wrongdoing in a manner that exceeded any “implied license” to visit the

  Plaintiffs’ homes and thus constituted an unreasonable search.

        A. The Prolific Offender Checks Are Unreasonable Seizures.

        The Eleventh Circuit has said that “[o]fficers need ... reasonable suspicion ...

  to justify [a] knock and talk.” United States v. Ratcliff, 725 F. App’x 894, 901 (11th

  Cir. 2018). At least reasonable suspicion should be required to justify the

  interactions at issue here, which bear all the hallmarks of a seizure. See City of

  Indianapolis v. Edmond, 531 US. 32, 37, 41-42 (2000). PSO’s policy, however,

  required these “checks” without any particularized suspicion at all.

        “A person is seized by the police,” when an officer, “by physical force or a

  show of authority, terminates or restrains. . . [one’s] freedom of movement.”

  Brendlin v. California, 551 U.S. 249, 254 (2007) (cleaned up) (emphasis added)

  (citing Florida v. Bostick, 501 U.S. 429, 434 (1991)). In a case like this one, where

  typically “an individual’s submission . . . takes the form of passive acquiescence” in

  a so-called “knock-and-talk,” the propriety of an interaction turns on “whether ‘a

  reasonable person would feel free to decline the officers’ requests or otherwise

  terminate the encounter.’” Id. at 255.



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           Under this standard, the pattern of prolific offender checks here gave rise to a

  Fourth Amendment seizure. The repeated nature of the visits—and the fact that they

  occurred pursuant to an official policy of periodic “checks”—meant that the

  Plaintiffs could not simply terminate the encounters. When Plaintiffs complained

  that they were being harassed, the visits continued. See supra p. 13. Moreover, the

  circumstances were such that Plaintiffs would reasonably “fear[ ] prosecution” if

  they declined to cooperate. Bostick, 501 U.S. at 437 (emphasis added). Indeed, all

  the Plaintiffs were either arrested or otherwise threatened for noncompliance. See

  Heilman Decl. ¶¶ 11–12, 30; Jones Decl. ¶¶ 15–16; Taylor Decl. ¶¶ 17, 20; Ex. 6 at

  20:40.

           The visits also involved “the threatening presence of several officers . . . or

  the use of language or tone of voice indicating that compliance with the officer’s

  request might be compelled.” United States v. Mendenhall, 446 U.S. 544, 554–55

  (1980). Whether an encounter is a seizure may “turn[] on the show of force exhibited

  by the police,” as evidenced by things like “raised voices[] or coercive demands,”

  officers “surround[ing] the house,” shining lights into a residence, forceful

  knocking, and ordering occupants to emerge. United States v. Thomas, 430 F.3d 274,

  277–78 (6th Cir. 2005) (collecting cases). Virtually all of these things happened to

  Robert, who endured lengthy checks, at all hours, in which as many as over a dozen

  officers descended on the residence—shined lights in windows, pounded on doors,



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  demanded occupants to come outside, and used code enforcement to coerce

  compliance with PSO’s information-gathering. See Jones Decl. ¶¶ 9–11, 15–18; Ex.

  7 at 0:39, 2:10, 5:42, 19:02, 20:49, 22:29, 25:46, 27:30, 30:10, 32:57, 38:47. This is

  the very “coercive police conduct,” that leads a person to “reasonably believe[] he

  ha[s] no choice but to comply.” Thomas, 430 F.3d at 277.

        The same is true for Darlene. In fact, in Thomas, the Sixth Circuit identified

  some factors characterizing the “show of force” that elevates a consensual encounter

  to an unlawful seizure. It reads like a list of tactics deployed by PSO. For example,

  PSO attempted to “summon[] [Darlene’s son] from his mother’s home with the

  blaring call of a bullhorn.” Id. at 278 (citing United States v. Morgan, 743 F.2d 1158,

  1161 (6th Cir. 1984)); see Deegan Decl. ¶ 11; Ex. 6 at 1:11. And they “completely

  surrounded [her] trailer . . . and ordered [Tyler] . . . to leave.” Thomas, 430 F.3d at

  278 (citing United States v. Al-Azzawy, 784 F.2d 890, 893 (9th Cir. 1985)). And

  when Darlene told deputies she thought their behavior was “harass[ment],” and

  asked them to leave, they stayed and continued questioning her. Deegan Decl. ¶ 16;

  Ex. 6 at 34:48, 36:20 (Darlene saying she “just want[ed] to be left alone” and a

  deputy responding, “That’s not going to happen”).

        Tammy had a similar experience. Her property was sometimes surrounded,

  even surreptitiously, by PSO deputies. Heilman Decl. ¶¶ 7–8; Ex. 5 at 15:18. PSO

  deputies were aggressive, intending to convey a “show of force,” they said, when



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  “coming to [her] s—thole house.” Ex. 5 at 22:26. While there, deputies brainstormed

  how to use the law to harm Tammy. Id. at 18:28 (thinking of ways to “stir something

  up” to act “as a big ‘f—k you’”). If Tammy was not fully cooperative, she was

  threatened with everything from code citations to trumped up investigations,

  charges, and even arrest. See, e.g., Heilman Decl. ¶¶ 11–19, 28–30, 37; Ex. 5 at 4:52,

  8:18. Under those circumstances, Tammy reasonably believed that she had no choice

  but to comply. See Heilman Decl. ¶ 14.

        Dalanea’s prolific offender checks were likewise textbook seizures. That is

  because, again, a seizure occurs where an officer “asserts his or her authority, refuses

  to leave, or otherwise makes ‘the people inside feel they cannot refuse to open up.’”

  United States v. Mills, 372 F. Supp. 3d 517, 531 (E.D. Mich. 2019) (collecting cases).

  That “assertion of authority and refusal to leave” is what happened routinely with

  Dalanea. As just one example, body-worn camera footage depicts Dalanea—who

  was visibly uncomfortable with the deputy’s presence—turning and reaching for the

  doorknob to end an encounter. Ex. 4 at 14:19. But instead, she stopped and faced his

  invasive questions about her pregnancy and romantic partners. Id. And despite

  Dalanea’s obvious discomfort, the questioning persisted. Indeed, Dalanea was often

  reluctant to share such sensitive information. Ex. 4 at 14:52, 28:27. She only did so

  because she thought she had no choice. See Taylor Decl. ¶¶ 12–13.




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          To be clear, there were a handful of times when some of the Plaintiffs did try

  to cease an encounter. What happened in those instances is just as telling. Robert

  was arrested immediately. See Jones Decl. ¶ 15; Ex. 7 at 35:15. Tammy was both

  cited immediately and arrested immediately. See Heilman Decl. ¶¶ 11–13, 30–32;

  Ex. 5 at 8:18, 30:09. And Darlene was cited immediately and threatened with arrest.

  See Deegan Decl. ¶ 15, Ex. 6 at 19:36, 20:40, 38:43. This of course informs the

  “circumstances surrounding the encounter” for subsequent visits.27 Moreover, the

  repeated nature of the interactions means that even if a targeted individual did

  somehow manage to terminate a particular interaction PSO deputies were required

  to—and always did—come back.

          B.   The Prolific Offender Checks Are Unreasonable Searches.

          A core goal of any prolific offender check is “to cultivate information about

  the criminal environment” and “to develop information to help analysts identify

  where and who [PSO] should be focused on, help solve crimes that have already

  been committed, and ultimately help . . . to prevent future crimes from occurring.”

  Ex. 1 at 18. That is a search. Florida v. Jardines, 569 U.S. 1, 11 (2013); Kyllo v.

  United States, 533 U.S. 27, 32 n.1 (2001) (defining a search to mean, among other


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        In any case, perceived “non-compliant behavior . . . does not constitute grounds for a search.”
  Richardson v. City of Antioch, 722 F. Supp. 2d 1133, 1140 n.2 (N.D. Cal. 2010). The government
  “may not use the fact that Plaintiffs asserted their Fourth Amendment rights as justification for the
  subsequent deprivation of those very same rights.” Id. Yet retaliatory behavior is a hallmark of
  PSO’s prolific offender checks, as deputies routinely look to penalize property owners for
  perceived noncompliance. See, e.g., Ex. 5 at 4:52, 8:30.

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  things, “[t]o look over or through for the purpose of finding something; to explore”

  (citation omitted)). Because PSO conducted these searches without probable cause

  or a warrant, they are presumptively unreasonable. Edmond, 531 US. at 37.

        While police may take advantage of the “implied license” to approach a house

  to speak with its inhabitants, the pattern of repeated, harassing visits at issue in this

  case far exceeds any such “implied license.” Jardines, 596 U.S. at 10; see also

  Bengini v. City of Hemet, 879 F.2d 473, 477 (9th Cir. 1988) (upholding a jury verdict

  finding a Fourth Amendment violation where officers checked a bar “five or six

  times per evening,” “went behind the bar,” “searched in drawers,” “shined

  flashlights in patrons’ faces,” thus supporting a finding that the “checks . . . were

  unreasonable because the[ir] manner . . . and their frequency.”).

        Indeed, a search occurs—and thus Fourth Amendment protections are

  triggered—where there is objective evidence of an attempt to “gather[] . . .

  information by physically entering and occupying” private property “to engage in

  conduct not explicitly or implicitly permitted by the homeowner.” Jardines, 569

  U.S. at 5–6. The police, rather, may act only as any private citizen may: they may

  “approach the home by the front path, knock promptly, wait briefly to be received,

  and then (absent an invitation to linger longer) leave.” Id. at 8; see also Rogers v.

  Pendleton, 249 F.3d 279, 289–90 (4th Cir. 2001) (officers may not continue a search

  “after officers have spoken to the owner of a home and been asked to leave.”).



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        Moreover, the rule from Jardines—that law enforcement cannot linger on a

  property absent an invitation—extends to the curtilage as well. Jardines, 569 U.S. at

  6 (explaining that the curtilage is “part of the home itself for Fourth Amendment

  purposes.”) (quotation omitted). Quite simply, “there is no customary invitation” to

  enter the curtilage simply to conduct a search. Id. at 9; Brennan v. Dawson, 752 F.

  App’x 276, 283 (6th Cir. 2018) (finding that an officer, having knocked and not

  received a response, “overextended his stay” in violation of Jardines, when he

  “walked the perimeter of the home, pause[ed] to knock on and peer through the

  windows . . . made five to ten trips around the perimeter,” and spent roughly ninety

  minutes on the property). After all, the Fourth Amendment “would be of little

  practical value if the State’s agents could stand in a home’s porch or side garden and

  trawl for evidence with impunity . . . [or] observe [someone’s] repose from just

  outside the front window.” Jardines, 569 U.S. at 6.

        There is also no implied license for another of PSO’s routine practices—

  “forgo[ing] the knock at the front door and, without any reason to believe the

  homeowner will be found there, proceed[ing] directly to the back yard.” United

  States v. Wells, 648 F.3d 671, 680 (8th Cir. 2011); See Heilman Decl. ¶ 8; Jones

  Decl. ¶ 11; Deegan Decl. ¶¶ 13–14; see also, e.g., Ex. 7 at 2:30, 29:55; Ex. 5 at

  15:16, 23:37, 34:14; Ex. 6 at 5:06, 43:08, 44:25, 46:01. The implied license does not

  include “linger[ing] and continu[ing] to search the curtilage of the home.” Brennan,



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  752 F. App’x at 283 (citing Jardines, 569 U.S. at 8); see also Rogers v. Pendleton,

  249 F.3d 279, 290 (4th Cir. 2001).

        Taken together, there is “objective evidence” that PSO policy of repeated,

  warrantless, suspicionless visits to the home requires conduct that goes beyond the

  implied license described in Jardines. Rather than knock promptly and (absent an

  invitation to linger) leave, the evidence objectively shows that PSO policy requires

  deputies to go beyond the implied license and:

      Surveil properties for unspecified criminal activity. See Heilman Decl. ¶ 8;
       Jones Decl. ¶ 11; Ex. 5 at 15:16, 23:37.

      Peer through fence slats in search of unspecified criminal activity before
       knocking. See Heilman Decl. ¶ 8; Ex. 5 at 15:16.

      Use information gathered through surveillance as a basis to initiate an
       investigation by another state agency. See Heilman Decl. ¶ 17.

      Look through windows in search of unspecified criminal activity. See Jones
       Decl. ¶¶ 11, 15; Heilman Decl. ¶ 8; Ex. 5 at 33:54: Ex. 7 at 4:32.

      Identify inhabitants to determine whether they have warrants or are on
       probation. See Ex. 1 at 18; Jones Decl. ¶¶ 11, 15; Heilman Decl. ¶¶ 16–17;
       Deegan Decl. ¶¶ 9–10; Ex. 7 at 1:46; Ex. 5 at 30:09.

      Seek entry into campers, RVs, and the like in search of unspecified criminal
       activity. See, e.g., Deegan Decl. ¶¶ 11–14; Ex. 6 at 11:39, 22:13, 27:45.

      Explore the interior and exterior of homes, including the curtilage, in search
       of unspecified criminal activity or municipal code violations. See Jones Decl.
       ¶¶ 11, 15; see also, e.g., Ex. 7 at 0:39, 2:09, 2:30, 29:55, 32:57, 37:48, 38:16.

  PSO’s checks bear all the hallmarks of a search: surveillance, questioning, exploring

  the inside and outside of a property, and seeking to enter a home or speak with

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  occupants—all to gather information. Ex. 1 at 18–20. Again, PSO Deputies are

  required to do this. Id.; Ex. 4 at 19:34, 26:16; Ex. 7 at 45:55. Thus, PSO’s stated

  policy—and its deputies’ tactics in implementing that policy—“objectively reveals

  a purpose to conduct a search.” Jardines, 569 U.S. at 10. After all, “no one is

  impliedly invited to enter the protected premises of the home in order to do nothing

  but conduct a search.” Jardines, 569 U.S. at 9 n.4.28 Similarly, no one is “impliedly

  invited to enter the protected premises of the home” in order to harass. This roving

  and unfocused “program whose primary purpose [is] to detect evidence of ordinary

  criminal wrongdoing,” City of Indianapolis, 531 U.S. at 38, cannot be conducted in

  the absence of a warrant or probable cause and violates the Fourth Amendment.

     II.      PSO’s Policy Of Harassing Parents And Other Associates Of
              Targeted Persons Violates The First Amendment.

           The First Amendment protects the right “to enter into and maintain certain

  intimate human relationships.” Roberts v. U.S. Jaycees, 468 U.S. 609, 617–18

  (1984); see also Adler v. Pataki, 185 F.3d 35, 44–45 (2d Cir. 1999). And the

  Eleventh Circuit has historically “adopted an expansive view of an individual’s

  [F]irst [A]mendment right of association.” Wilson v. Taylor, 733 F.2d 1539, 1543

  (11th Cir. 1984) (citing Sawyer v. Sandstrom, 615 F.2d 311 (5th Cir. 1980)).



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       As at least one Court of Appeals has explained, “a consensual encounter at the doorstep may
  evolve into a ‘constructive entry’ when the police, while not entering the house, deploy
  overbearing tactics that essentially force the individual out of the home.” United States v. Thomas,
  430 F.3d 274, 277 (6th Cir. 2005).

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        All four of the Plaintiffs have experienced some form of punishment for their

  association with others. Three plaintiffs—Robert, Tammy, and Darlene—were

  subjected to systematic harassment for the prior misdeeds of their children. See Jones

  Decl. ¶ 5; Heilman Decl. ¶ 5; Deegan Decl. ¶ 5; see also, e.g., Ex. 7 at 33:26 (“Little

  Bobby Jones is bringing this on this house.”); Ex. 5 at 0:34. Robert was told: “Your

  kid [is] out here victimizing people. That’s why, that’s why all this [code

  enforcement and searching] today.” Ex. 7 at 45:55. Darlene was told: “Tyler is a Top

  5 Offender. Okay, every offender that we have in the county, especially a Top 5, we

  go to their house and . . . we ensure that all the laws are being followed and the

  ordinances are being followed.” Ex. 6 at 32:07. And, again, Tammy was told: “If

  people . . . that live in the house are committing crimes . . . the direction we receive

  from our Sheriff’s Office . . . is to go out there and for every single violation that

  person commits, to enforce it upon them.” Ex. 5 at 0:34. Thus, the enhanced scrutiny

  three of the plaintiffs received was the result of their children’s inclusion on various

  lists—all for offenses that the Plaintiffs had nothing to do with.

        Meanwhile, as a listed individual, Dalanea also found that her close associates

  were targeted pursuant to this same policy. In one instance, a PSO deputy’s

  unwanted early-morning visit led Dalanea’s family friend, Dana Jones, to suggest

  that she would throw out Dalanea out of the house to avoid further visits. Ex. 4 at

  19:10. (“Well then, she ain’t gonna be living here. She ain’t gonna be living in the



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  state, or something. Because this—that’s bulls—t.”). The deputy responded that,

  “I’m just trying to do my job.” Id. at 19:34. But in “just trying to do [his] job,” he

  was effectively penalizing Ms. Jones for her association with Dalanea. So much so,

  in fact, that Ms. Jones indicated that she would have to throw Dalanea out to escape

  the harassment—even though she knew Dalanea had nowhere else to go. Id. Indeed,

  soon after that encounter, Dalanea moved out. See Taylor Decl. ¶ 19.29

          Deputies understand that this is what the policy requires. That is why, when

  touting his accomplishments during a performance review, one deputy boasted that

  he helped get a prolific offender’s mother evicted. Ex. 29 at 10. Another admitted

  that the point of the visits is to “pressure . . . the residents of where [a] prolific

  offender is.” Ex. 22 at 74:13–15; see also Ex. 1 at 18–20; Carrasco Decl. ¶¶ 73–75.

          This policy runs afoul of the principle that, “[i]n this country, guilt is

  individual.” Singleton v. Cecil, 155 F.3d 983, 987 (8th Cir. 1998). Prior to the

  establishment of the Eleventh Circuit, the Fifth Circuit acknowledged as much,

  explaining that “[f]reedom from punishment in the absence of personal guilt is a

  fundamental element in the American scheme of liberty” and attributing one



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         Others in Dalanea’s circle had similar experiences. For example, a family friend who had
  taken in Dalanea, Karen Hodges, was threatened with code violations because Dalanea refused
  deputies entry to look for her cousin. See Taylor Decl. ¶ 20; Ex. 15 at 12. During prolific offender
  checks, deputies routinely asked Dalanea about old associates, current associates, and even
  romantic partners. See Taylor Decl. ¶¶ 12–14, 16. She was even asked, repeatedly, about the
  identity of the father of her unborn twins, whether he was involved in any criminal activity, and
  whether he would be “in the picture” to help rear the children.

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  individual’s misconduct “to other family members is . . . guilt by association wholly

  alien to American liberty.” St. Ann v. Palisi, 495 F.2d 423, 425 (5th Cir. 1974). Yet

  PSO has imposed consequences on Plaintiffs “on the basis of their children’s acts.”

  Tyson v. New York City Hous. Auth., 369 F. Supp. 513, 520 (S.D.N.Y. 1974). Such

  a policy “run[s] afoul of the First Amendment which guarantees to every person the

  right to freely associate with others, including members of his family, without

  interference from the state.” Id.30

     III.    PSO’s Policy Of Listing Targeted Persons Without Notice Or A
             Hearing Violates Procedural Due Process.

          Procedural due process protections apply whenever “there has been a taking

  or deprivation of a protected interest.” Chrysler Corp. v. Fedders Corp., 670 F.2d

  1316, 1321 (3d Cir. 1982) (citing Bd. of Regents v. Roth, 408 U.S. 564, 569 (1972)).

  Accordingly, “[i]n examining a procedural due process claim . . . [the court] must

  determine whether the plaintiffs were deprived of a protected interest, and, if so,

  whether they received the process they were due.” Statewide Bonding, Inc. v. U.S.

  Dep’t of Homeland Sec., 980 F.3d 109, 118 (D.C. Cir. 2020). This section therefore

  proceeds in two parts. First, Plaintiffs establish that their right to procedural due



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        It does not matter whether the code violations were “otherwise justified.” See Eisenberg v.
  City of Miami, 54 F. Supp. 3d 1312, 1323 (S.D. Fla. 2014) (“Although the City contends its conduct
  was lawful, such ‘lawful conduct’ does not preclude Plaintiffs’ claim where ‘a retaliatory motive
  can be inferred from a sequence of events, notwithstanding other non-retaliatory motives . . . the
  defendant may have.” (citing Royal Crown Day Care LLC v. Dep’t of Health & Mental Hygiene,
  746 F.3d 538, 544 (2d Cir. 2014))).

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  process was implicated. And second, Plaintiffs show that the process PSO

  afforded— none—falls short of the process Plaintiffs were due.

        A. PSO’s Policy Infringes on Plaintiffs’ Protected Interests.

        The requirements of procedural due process apply to the “interests

  encompassed by the Fourteenth Amendment’s protection of liberty and property.”

  Roth, 408 U.S. at 569. And being on a PSO list has consequences akin to being on

  probation—albeit for a future offense. Ex. 18 at 76:4–78:6 (acknowledging that

  being placed on a list has consequences); see also Ex. 48 (email from PSO’s 30(b)(6)

  representative treating “focused offenders” status as an “alternative option to going

  to jail”). Because those consequences implicate constitutional rights, “the right to

  some kind of prior hearing is paramount.” Roth, 408 U.S. at 569–70. After all,

  Plaintiffs are arguing that PSO’s policy violated their right to be at peace in their

  own homes—or, in other words, to be free from unreasonable searches and seizures,

  to be free from punishment for the misdeeds (actual or predicted) of others, and to

  be free from pretextual and abusive government conduct. Thus, Plaintiffs satisfy the

  threshold question of whether PSO’s policy implicates the requisite “interests

  encompassed by the Fourteenth Amendment’s protection of liberty and property.”

        B.   PSO’s Policy Failed to Provide Plaintiffs with Any Notice or
             Process, Rendering a Full Mathews Analysis Unnecessary.

        As a threshold matter, PSO violated Plaintiffs’ right to be notified of their

  inclusion on PSO’s lists where the consequence of that inclusion was the deprivation


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  of other constitutional rights. Cf. M.A.K. Inv. Grp., LLC v. City of Glendale, 897

  F.3d 1303, 1312–19 (10th Cir. 2018) (applying Mullane v. Cent. Hanover Bank &

  Tr. Co., 339 U.S. 306 (1950)). In addition to improper (nonexistent) notice, PSO

  has, relatedly, failed to afford Plaintiffs adequate process—a question that would

  typically be determined by applying the Mathews balancing test. Catron v. City of

  St. Petersburg, 658 F.3d 1260, 1267 (11th Cir. 2011) (citing Mathews v. Eldridge,

  424 U.S. 319, 335 (1976)). But where, as here, the government provides no process

  at all, a full Mathews analysis is unnecessary; the government simply loses. See

  Schepers v. Comm’r, Ind. Dep’t of Corr., 691 F.3d 909, 915–16 (7th Cir. 2012).

  Indeed, “[t]his deficiency alone” is enough to find that the “procedures are

  inadequate because they fail to provide any way for persons . . . to correct errors.”

  Id.31

     IV.     PSO’s Policy Of Harassing Targeted Persons And Their Associates
             Violates Substantive Due Process.

          PSO’s policy violates substantive due process in two ways. First, it violates

  the fundamental right to be free from punishment for the misdeeds of others. And



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          Even applying Mathews, the outcome is the same. First, the nature of the private interest
  favors the Plaintiffs here. Plaintiffs have alleged harms to fundamental constitutional rights. See,
  e.g., Mohamed v. Holder, 995 F. Supp. 2d 520, 539 (E.D. Va. 2014). Second, as to the sufficiency
  of “the procedures used,” again, there were none. Nor was there any meaningful way to get off the
  lists. Jones Decl. ¶¶ 28–29; Heilman Decl. ¶¶ 34–36; Deegan Decl. ¶¶ 28–29; Taylor Decl. ¶ 29;
  see also Ex. 26 at 94:1–11. Finally, the third prong—the government’s interest—also weighs in
  Plaintiffs’ favor. The PSO has not asserted (because it cannot) that its interests go beyond general
  crime prevention or otherwise implicate “substantial” or “compelling” interests.

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  second, it violates the right to be free from arbitrary and pretextual enforcement that

  lacks any rational basis. Each argument is addressed in turn.

        A. PSO’s Policy Violates the Fundamental Right to Be Free From
           Punishment for the Wrongdoing of Others.

        Because PSO’s policy “implicates a ‘fundamental liberty interest[]’ by

  ‘impos[ing] punishments and other legal burdens’” for the wrongdoing of others, it

  is “subject to strict scrutiny in a substantive due process analysis.” Cook v. Stewart,

  Case No. 1:13-cv-72-MW-GRJ, 2014 WL 12521335, at *4 (N.D. Fla. Apr. 22, 2014)

  (citing Doe v. Moore, 410 F.3d 1337, 1342–43 (11th Cir. 2005)).

        The punishments meted out by PSO in this case are the result of the alleged

  wrongdoing of others—specifically, the Plaintiffs’ children. Deputies expressly told

  Robert that he was targeted because “[y]our kid [is] out here victimizing people,”

  Ex. 7 at 45:55; told Darlene she was targeted for code enforcement because “Tyler

  is a Top 5 Offender,” Ex. 6 at 32:07; and told Tammy she was targeted because, “[i]f

  people ... that live in the house are committing crimes . . . the direction we receive

  from our Sheriff’s Office ... is to go out there and for every single violation that

  person commits, to enforce it upon them.” Ex. 5 at 0:34. The enhanced scrutiny three

  of the plaintiffs received was the result of their children’s inclusion on various lists—

  all for offenses that the Plaintiffs had nothing to do with. This runs afoul of the

  principle that any “legal burden[] should bear some relationship to individual

  responsibility or wrongdoing.” St. Ann, 495 F. 2d at 426.


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        B.    PSO’s Policy is Arbitrary, Pretextual, and Designed to Harass.

        PSO’s policies also constituted unlawful harassment in violation of due

  process. Indeed, a party has a “section 1983 claim for violation of due process of

  law,” where there is evidence of “systematic and intentional harassment.” Chalfy v.

  Turoff, 804 F.2d 20, 22–23 (2d Cir. 1986) (citing Espanola Way Corp. v. Myerson,

  690 F.2d 827, 829 (11th Cir. 1982)). And when it comes to code enforcement, even

  something as simple as “[i]ssuing an unreasonably high number of fully warranted

  citations might” be enough to violate due process. Post v. City of Fort Lauderdale,

  7 F.3d 1552, 1560 (11th Cir. 1993) (emphasis added).

        The evidence here indicates wrongful enforcement motives. PSO targeted

  listed individuals and their families by “forming a ‘task force’ . . . to conduct frequent

  [code] inspections . . . with the ‘stated goal’ of ‘driving them out.’” Beach Blitz Co.

  v. City of Miami Beach, Case No. 1:17-cv-23958-UU, 2018 WL 11260453, at *5

  (S.D. Fla. Feb. 5, 2018) (applying Espanola Way, 690 F.2d at 828–30). Indeed, PSO

  has a dedicated group of people—a code enforcement corporal, deputies, and the

  STAR Team—to target people for that very purpose. Ex. 45 at 3–5; Ex. 50 at 1

  (“[T]he goal is to get them to move away or go to prison on new charges we discover,

  that’s what we are looking for!”); Ex. 22 at 72:17–73:9; Ex. 23 at 110:10–15. There

  is also evidence that “Code Enforcement Officers who issued . . . violations were

  specifically dispatched” to certain targets. Beach Blitz Co., 2018 WL 11260453, at



                                             39
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  *5; Ex. 2 at 7 (requiring deputies to “[u]tilize County Ordinance citations as a

  strategic tool to target” individuals); Ex. 22 at 73:17–74:18 (testifying that they were

  required to “put[] the pressure onto the residents of where [a] prolific offender is.”);

  Ex. 24 at 34:5–22; see also Ex. 52 at 1. And there is evidence of wrongful

  enforcement because code enforcement operated unevenly or was focused on a

  specific target. Beach Blitz, 2018 WL 11260453, at * 5 (citing Espanola Way, 690

  F.2d at 828–30); see also H & J Land Invs., Inc. v. City of Jacksonville, No. 3:13-

  cv-1174-J-34PDB, 2014 WL 4540200, *9–10 (M.D. Fla. Sept. 11, 2014).32 There is

  even stark statistical proof that PSO’s code enforcement efforts were

  disproportionately directed at Plaintiffs and other targeted individuals. See Carrasco

  Decl. ¶¶ 63–75. PSO had a dedicated group of people, a list of targets, and a goal of

  driving those targets out. That is unconstitutional.

                                        CONCLUSION

          For the foregoing reasons, Plaintiffs respectfully request that this Court enter

  summary judgment on the question of liability, while setting the case for a limited

  bench trial on the issue of remedy.33


     32
         Each of these cases—Espanola Way, Post, Beach Blitz, and H & J Land—were ultimately
  resolved under various immunity doctrines. Because this is a Monell case, however, immunity-
  based rationales (like whether an agent’s conduct was improper under “clearly established
  precedent”) are not determinative. Rather, this Court’s consideration is simply whether a
  constitutional violation took place.
      33
         Plaintiffs do not seek damages for pain and suffering but, in addition to nominal damages
  and injunctive and declaratory, seek to recover a modest amount of compensatory damages to be
  proved at trial.

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  Dated: June 27, 2022.        Respectfully submitted,

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                         CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 27th day of June, 2022, a true and correct

  copy of the foregoing document was served via electronic mail to the following

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